        Case 1:18-cr-10041-RWZ Document 119 Filed 01/24/19 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 UNITED STATES OF
 AMERICA
                                                  CRIMINAL No. 18-CR-10041-RWZ-3

        v.

 ERIC VALENTIN

        Defendant


RESPONSE BY GOVERNMENT TO DEFENDANT’S MOTION FOR ENLARGEMENT
          OF TIME TO REPLY TO GOVERNMENT’S OPPOSITON

       The United States of America, by Andrew E. Lelling, United States Attorney, and Philip

Mallard, Assistant United States Attorney for the District of Massachusetts, does not object to

the defendant’s motion for an enlargement of time.

       The government also wishes to respond to the defendant’s allegations in his motion for

enlargement pertaining to the mailing of the government’s motion to dismiss (ECF Docket

#110). In particular, the defendant states that “AUSA’S: Wortmann & Mallard intentionally

placed on the Manila envelope” “Valentin’s incorrect prison ID number citing 00731-031,

incorrectly [(sic)] which prevented Valentin from receiving the Response timely as a tactical

advantage & to prevent Valentin’s timely reply...” Defendant’s Motion Requesting Enlargement,

p. 1, ECF Docket #117. The defendant also included a scan of the envelope he received as an

exhibit to his motion, indicating the prisoner number on the mailing was “00731-031.” An

image of the envelope provided by the defendant as exhibit 1 follows:
        Case 1:18-cr-10041-RWZ Document 119 Filed 01/24/19 Page 2 of 3




       The Government wishes to clarify the record that the Government’s motion to dismiss

was mailed to the defendant at the same address he provided in the original Section 2255 petition

and used the same prisoner number that the defendant provided on that document. The

government provides a cut and paste of a portion of the defendant’s signature line to the Section

2255 petition, where he identifies his prisoner number as “00731-031” (ECF Docket #103):




                                                2
         Case 1:18-cr-10041-RWZ Document 119 Filed 01/24/19 Page 3 of 3



                                                      Respectfully submitted,

                                                      ANDREW E. LELLING
                                                      United States Attorney
                                              By:
                                                      /s/ Philip A. Mallard
                                                      PHILIP A. MALLARD
                                                      Assistant U.S. Attorney
                                                      United States Attorney's Office
                                                      1 Courthouse Way, Suite 9200
                                                      Boston MA 02210
                                                      617-748-3674


                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).
Additionally, a copy will be mailed to the defendant, Eric Valentin, via firstclass mail to his
current address: Eric Valentin, 00731-138, FCI Fort Dix, P.O. Box 2000, Joint Base MDL, Fort
Dix, New Jersey, 08640 (the address obtained from the signature line of ECF docket #117.

                                                      /s/ Philip A. Mallard
                                                      PHILIP A. MALLARD
                                                      Assistant U.S. Attorney
January 24, 2019




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